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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Arkansas

DEEPALI TUKAYE

 

Plaintiff(s)
Vv.

Civil Action No. “av ABLVWYIO Le
Matt Troupe (a/k/a Matt Troup), Individually and in his
Official Capacity as CEO of Conway Regional
Medical Center, The City of Conway, Health Facilities
Board (of Conway Regional), and John Doe No. 1

 

ee a a a a

Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Health Facilities Board (of Conway Regional Medical Center)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Luther Sutter, Esq., ARBN 95031

Lucien Gillham, Esq., ARBN 99199
SUTTER & GILLHAM, P.L.L.C.

1501 N. Pierce St., Ste. 105,
Little Rock, AR 72207

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

TAMMY H. DOWNS

 

 

LERK OF COURT
eo
Date: 05/04/2023 Ly a4 es Ly

Sibha Efof Clerk, puteClerk

 
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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

 

This summons for (name of individual and title, if any) Health Pacitdies Sone Coe Convey Renigred Mees| Gender)
1
was received by me on (date) 5 “YAQG22 ‘

(1 I personally served the summons on the individual at (place)

 

on (date) ; or

 

© | left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

 

on (date) , and mailed a copy to the individual’s last known address; or
aq I served the summons on (name of individual) "ot Veesge Qafide) Dna “Troup , who is
designated by law to accept service of process on behalf of (name of organization)
lectin Fyedlinnes Boru (oF Corvin Meon\ Medel Gah) ON (date) § -S-asrB > Or
1 I returned the summons unexecuted because sor

 

Ol Other (specify):

—

My fees are $ - for travel and $ for services, for a total of $ a 00 :

I declare under penalty of perjury that this information is true.

Date: 5-3 —2.9%3 ss).

NJ Server's signature

has d Simeyar Process Sacter 7} Gir

Printed name and title

 

SGC Shenaoa RA. Pine CUFF AR 21603

Server's address

 

Additional information regarding attempted service, etc:

 
